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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 The State of Texas, et al.,

                        Plaintiffs,                  Case No. 4:20-cv-00957-SDJ

 v.                                                  Hon. Sean D. Jordan

 Google LLC,
                                                     Special Master: David T. Moran
                        Defendants.



                       UNOPPOSED MOTION TO FILE UNDER SEAL

       Plaintiff States (“States”) respectfully move the Court for leave to file under seal

PLAINTIFF STATES’ MOTION TO DEEM SUPPLEMENTAL EXPERT REPORT OF JACOB

HOCHSTETLER TIMELY SERVED and the exhibits thereto (“States’ Motion and Exhibits”),

to be filed later today. Defendant Google LLC (“Google”) does not oppose the States’ sealing

request.

       The States, with Google’s consent, request to file under seal the States’ Motion and Exhibits

because they reference materials, including a supplemental expert report, that contain

information Google has designated as highly confidential.             Google intends to propose

publicly available versions of these documents be filed with limited redactions only to protect

any highly confidential information. Consistent with Local Rule CV-5, the States will work with

Google to file redacted versions—with as limited redactions as possible—within seven (7) days.

       For the reasons stated above, the States respectfully request that this Court allow the States

to file the above-referenced documents under seal.




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DATED: October 17, 2024                           Respectfully submitted,

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Submitted on behalf of all Plaintiff States




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                            CERTIFICATION OF CONFERENCE

       I certify that counsel has complied with the meet and confer requirement in Local Rule

CV-7(h) and that Google LLC does not oppose the foregoing sealing request.

                                                  /s/ Noah S. Heinz
                                                  Noah S. Heinz




                               CERTIFICATE OF SERVICE

       I certify that on October 17, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).

                                                  /s/ Noah S. Heinz
                                                  Noah S. Heinz




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